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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

DISPLAY TECHNOLOGIES, LLC,                           §
                                                     §
       Plaintiff,                                    §       Case No: 6:21-cv-00304-ADA
                                                     §
vs.                                                  §       PATENT CASE
                                                     §
AMERICAN HONDA MOTOR CO., INC.,                      §
                                                     §
      Defendant.                                     §
_____________________________________                §

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Display Technologies, LLC (“Plaintiff” AND/or “Display”) files this Notice of

Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant American Honda

Motor Co., Inc. with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees

and costs.




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Dated: September 24, 2021.                  Respectfully submitted,

                                            /s/Jay Johnson
                                            JAY JOHNSON
                                            State Bar No. 24067322
                                            D. BRADLEY KIZZIA
                                            State Bar No. 11547550
                                            KIZZIA JOHNSON PLLC
                                            1910 Pacific Ave., Suite 13000
                                            Dallas, Texas 75201
                                            (214) 451-0164
                                            Fax: (214) 451-0165
                                            jay@kjpllc.com
                                            bkizzia@kjpllc.com

                                            ATTORNEYS FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

        I hereby certify that on September 24, 2021, I electronically filed the above document(s)
with the Clerk of Court using CM/ECF which will send electronic notification of such filing(s) to
all registered counsel.

                                         Respectfully submitted,

                                         /s/Jay Johnson
                                         JAY JOHNSON




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